
In re Louisiana State of; Office of Community Services; Social Services Dept, of; — Other(s); Applying For Supervisory and/or Remedial Writs, Parish of Rapides, 9th Judicial District Court Div E, No. 2008-TP-00006; to the Court of Appeal, Third Circuit, No. 08-1462.
Writ granted. The decisions of the juvenile court and the court of appeal are hereby vacated. This case is remanded to the juvenile court for a new factual determination in light of the juvenile court’s assertion in its Per Curiam that the mother has reported that she is now scheduled to be released at an earlier date.
WEIMER, J., would grant and docket.
GUIDRY, J., would deny the writ.
